     Case 4:24-cv-00419-MW-MAF      Document 51     Filed 12/17/24   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

FLORIDIANS PROTECTING
FREEDOM, INC.,

            Plaintiff,
v.                                           Case No.: 4:24cv419-MW/MAF

JOSEPH A. LADAPO,

          Defendant.
_________________________/

                            ORDER CLOSING FILE

      Plaintiff has filed a notice of voluntary dismissal dismissing this action with

prejudice. ECF No. 50. Inasmuch as Defendant has not filed an answer or motion

for summary judgment, the notice of voluntary dismissal is effective without an

order. See Fed. R. Civ. P. 41(a)(1)(A)(i). Accordingly, the Clerk must enter

judgment stating, “This case is dismissed with prejudice under Federal Rule of Civil

Procedure 41(a).” The Clerk must close the file.

      SO ORDERED on December 17, 2024.

                                      s/Mark E. Walker                   ____
                                      Chief United States District Judge
